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  6 ABS HEALTHCARE SERVICES, LLC and
    HEALTH OPTION ONE, LLC
  7
  8
                        UNITED STATES DISTRICT COURT
  9
 10        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 11
    LEGACY INSURANCE SOLUTIONS                   Case No. 2:20-cv-04097-DSF-JEM
 12 LLC, a California limited liability
 13 company, and BRADLEY TIERNEY an              DEFENDANTS’ NOTICE OF
    individual,                                  MOTION AND MOTION TO
 14                                              DISMISS FOR FORUM NON
 15              Plaintiffs,                     CONVENIENS, OR,
                                                 ALTERNATIVELY, TO
 16       v.                                     TRANSFER PURSUANT TO 28
 17                                              U.S.C. § 1404(a); MEMORANDUM
    ABS HEALTHCARE SERVICES, LLC, a              OF POINTS AND AUTHORITIES
 18 Florida limited liability company, and
 19 HEALTH OPTION ONE, LLC, a Florida            [Proposed Order filed concurrently
    limited liability company, and DOES I        herewith]
 20 through 20, inclusive,
                                                 The Honorable Dale S. Fischer
 21
                   Defendants.                   Date:      June 15, 2020
 22                                              Time:      1:30 pm
                                                 Courtroom: 7D
 23
 24                                              Removal Filed: May 4, 2020
                                                 State Court Filing: April 23, 2020
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                                                               Case No. 2:20-cv-04097-DSF-JEM
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  1 TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
  2         PLEASE TAKE NOTICE THAT on June 15, 2020, at 1:30 pm, or as soon
  3 thereafter as this matter may be heard, in the courtroom of the Honorable Dale S.
  4 Fischer, located in First Street Courthouse, 350 West 1st Street, Courtroom 7D, Los
  5 Angeles, California, Defendants ABS HEALTHCARE SERVICES, LLC and
  6 HEALTH OPTION ONE, LLC will and hereby does move this Court to Dismiss for
  7 Forum Non Conveniens, or, Alternatively, to Transfer Pursuant to 28 U.S.C. §
  8 1404(a).
  9         This Motion is made upon the following grounds:
 10         This Court should enforce the forum selection clause that Tierney agreed to
 11 and dismiss this case based on the doctrine of forum non conveniens so that it may be
 12 litigated as part of the already-pending lawsuit in Broward County, Florida.
 13 Alternatively, this court should transfer this case to the Southern District of Florida
 14 pursuant to 28 U.S.C. § 1404(a).
 15         This Motion is made following the conference of counsel pursuant to L.R. 7-3
 16 which took place on May 15, 2020.
 17         This Motion is based on this Notice of Motion, the accompanying
 18 Memorandum of Points and Authorities, all of the pleadings and other documents on
 19 file in this case, all other matters of which the Court may take judicial notice, and any
 20 further argument or evidence that may be received by the Court at the hearing.
 21
 22 DATED: May 15, 2020                    Respectfully submitted,

 23                                        BOIES SCHILLER FLEXNER LLP
 24
                                           By: /s/ Edward H. Takashima
 25                                        EDWARD H. TAKASHIMA
                                           Counsel for Defendants
 26                                        ABS HEALTHCARE SERVICES, LLC and
 27                                        HEALTH OPTION ONE, LLC
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  1                                    INTRODUCTION1
  2         This lawsuit is little more than an attempt by Plaintiff Brad Tierney (“Tierney”)
  3 to avoid the contractual promises he made in 2016 when he lived in Florida and
  4 executed an ICD Agent or Agency of Record Agreement with Defendants ABS
  5 Healthcare Services, LLC and Health Option One, LLC (collectively, “ICD”). That
  6 contract contained a valid forum selection clause mandating that, with respect to
  7 disputes arising out of or related to the agreement, “venue shall lie in Broward County,
  8 Florida.” Worse yet, Tierney filed this lawsuit only after ICD sued him in Broward
  9 County, Florida,2 in compliance with the venue agreement. Tierney admits that this
 10 action is a duplicate of the first-filed Florida action because it concerns the exact same
 11 subject matter as this lawsuit.3
 12         This Court should not condone Tierney’s flagrant forum shopping and attempts
 13 to undermine well-settled principles of judicial comity. Instead, this Court should
 14 enforce the forum selection clause that Tierney agreed to and dismiss this case based
 15 on forum non conveniens so that it may be litigated as part of the already-pending
 16 lawsuit in Broward County, Florida. Alternatively, this court should transfer this case
 17 to the Southern District of Florida pursuant to 28 U.S.C. § 1404(a).
 18                                     BACKGROUND
 19         Tierney signed an ICD Agent or Agency of Record Agreement between himself
 20 and ICD on January 4, 2016, which he attached to his complaint. D.E. 1-1 at 16, 28,
 21 30. “A copy of a written instrument that is an exhibit to a pleading is a part of the
 22 pleading for all purposes.” Fed. R. Civ. P. 10(c).       The agreement contains a forum
 23 selection provision, which provides:
 24        This Agreement and the relationship of the parties shall be governed by the laws
           of the State of Florida applicable to agreements executed and performed within
 25
 26   1
      ICD files this motion subject to and without waiving the defenses in its Rule 12(b)
    motion  to dismiss, also filed today.
 27 2 See D.E. 15-2.
    3
      D.E. 22-1 at 6 (“These parties, issues and agreements are already involved in the Prior
 28 State and Federal California Actions.”)
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            the State of Florida and without giving effect to any statutes or rules relating to
  1         the conflict of laws. The Parties agree and acknowledge that in the negotiating
            and executing of this agreement and in the performance of this Agreement, they
  2         are purposefully availing themselves of the benefits and laws of the state of
            Florida as to any dispute arising out of or related to the inception or
  3         performance of this Agreement. The Parties hereby waive their right to contest
            the exercise of personal jurisdiction over them in the State of Florida. The
  4         Parties further agree that venue shall lie in Broward County, Florida. ICD
            may pursue its equitable remedies, including specific performance, injunctions
  5         and restraining orders in any court of competent jurisdiction.
  6 Id. at 26 ¶ XV.A (emphasis added).
  7                                        ARGUMENT
  8         This case is governed by a valid, mandatory forum selection clause in the
  9 contract between ICD and Tierney, which specifies that the venue for all disputes “shall
 10 lie in Broward County, Florida.” Because this clause must be given proper effect,
 11 dismissal or transfer to Broward County, Florida is proper.
 12         “In the typical case not involving a forum-selection clause, a district court
 13 considering a § 1404(a) motion (or a forum non conveniens motion) must evaluate both
 14 the convenience of the parties and various public-interest considerations.” Atl. Marine
 15 Const. Co., Inc. v. U.S. Dist. Court for W. Dist. of Texas, 571 U.S. 49, 62–63 (2013).
 16 “The calculus changes, however, when the parties’ contract contains a valid forum-
 17 selection clause, which ‘represents the parties’ agreement as to the most proper
 18 forum.’” Id. “The ‘enforcement of valid forum-selection clauses, bargained for by the
 19 parties, protects their legitimate expectations and furthers vital interests of the justice
 20 system.’” Id. “For that reason, and because the overarching consideration under §
 21 1404(a) is whether a transfer would promote ‘the interest of justice,’ ‘a valid forum
 22 selection clause [should be] given controlling weight in all but the most exceptional
 23 cases.’” Id. (emphasis added).4
 24
 25   4
      The Ninth Circuit has clarified that such exceptional cases generally include only
    those where “(1) the clause is invalid due to fraud or overreaching, (2) enforcement
 26 would contravene a strong public policy of the forum in which suit is brought, whether
    declared by statute or by judicial decision,, or (3) trial in the contractual forum will be
 27 so gravely difficult and inconvenient that [the litigant] will for all practical purposes be
    deprived of his day in court.” Sun v. Advanced China Healthcare, Inc., 901 F.3d 1081,
 28 1088 (9th Cir. 2018) (quotation omitted). None of these issues is present in this case.
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  1         Thus “where a valid forum selection clause preselects a different forum than the
  2 one selected by the plaintiff, the § 1404(a) analysis is altered in three ways: (1) the
  3 plaintiff’s choice of forum ‘merits no weight,’ and the burden shifts to the plaintiff to
  4 show why the action should not be transferred to the preselected forum; (2) the court
  5 ‘must deem the private-interest factors to weigh entirely in favor of the preselected
  6 forum’; and (3) a § 1404(a) transfer of venue will not carry with it the original venue’s
  7 choice-of-law rules.” Ponomarenko v. Shapiro, 287 F. Supp. 3d 816, 833–34 (N.D.
  8 Cal. 2018) (quoting Atlantic Marine, 571 U.S. 49) (internal quotation marks omitted).
  9 In addition, “federal law,” rather than state law, “governs the District Court’s decision
 10 whether to give effect to the parties’ forum-selection clause.” Atlantic Marine, 571
 11 U.S. at 58 (quotation omitted).
 12 I.      THE FORUM SELECTION CLAUSE IS VALID AND ENFORCEABLE
 13         “A valid forum-selection clause [should be] given controlling weight in all but
 14 the most exceptional cases.” Atlantic Marine, 571 U.S. at 63 (quotation omitted). The
 15 forum selection clause in the Independent Agent Agreement is valid on its face. Forum
 16 selection clauses are “presumptively valid” and “The party challenging the clause bears
 17 a ‘heavy burden of proof’ and must ‘clearly show that enforcement would be
 18 unreasonable and unjust, or that the clause was invalid for such reasons as fraud or
 19 over-reaching.’” Murphy v. Schneider Nat’l, Inc., 362 F.3d 1133, 1140 (9th Cir. 2004);
 20 see also M/S Bremen v. Zapata Off-Shore Co., 407 U.S. 1, 10 (1972) (forum selection
 21 clauses “are prima facie valid and should be enforced unless enforcement is shown by
 22 the resisting party to be ‘unreasonable’ under the circumstances”). Additionally,
 23 although Tierney has suggested that he did not recall signing the contract, “simply
 24 alleging that one was duped into signing the contract is not enough . . . For a party to
 25 escape a forum selection clause on the grounds of fraud, it must show that ‘the inclusion
 26 of that clause in the contract was the product of fraud or coercion.” Batchelder v.
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  1 Kawamoto, 147 F.3d 915, 919 (9th Cir. 1998), as amended (July 15, 1998) (quotation
  2 omitted).
  3         Further, the clause governs this dispute. The clause applies to “any dispute
  4 arising out of or related to the inception or performance of th[e] Agreement.” D.E. 1-
  5 1 at 26. The claims here plainly arise out of or relate to the inception or performance
  6 of the agreement. See Sun, 901 F.3d at 1086 (9th Cir. 2018) (“[F]orum-selection
  7 clauses covering disputes ‘relating to’ a particular agreement apply to any disputes that
  8 reference the agreement or have some ‘logical or causal connection’ to the agreement.
  9 . . . The dispute need not grow out of the contract or require interpretation of the
 10 contract in order to relate to the contract.”). Here, Count I seeks declaratory relief
 11 concerning the validity of the agreement. D.E. 11 ¶ 34. Counts II and III allege that
 12 ICD engaged in unfair competition by requiring Tierney to sign the agreement and
 13 enforcing the agreement.       Id. ¶¶ 46-47, 53-54.     Moreover, each of these claims
 14 specifically request an interpretation of the contract, and the Ninth Circuit has noted
 15 that “Whether a forum selection clause applies to tort claims depends on whether
 16 resolution of the claims relates to interpretation of the contract.” Manetti-Farrow, Inc.
 17 v. Gucci Am., Inc., 858 F.2d 509, 514 (9th Cir. 1988).
 18         Because Plaintiffs’ claims “relate[] to” the contract, they are subject to the forum
 19 selection clause, and the burden falls on Plaintiffs to demonstrate why this is an
 20 “exceptional case[]” that requires that the clause not be enforced. Atlantic Marine, 571
 21 U.S. at 63. Plaintiffs cannot do so, because the clause is eminently reasonable: Tierney,
 22 then a Florida resident with a Florida address, signed the contract with ICD, who is and
 23 remains a Florida-based company. Tierney cannot avoid the sensible obligations that
 24 he agreed to while he was a Florida resident by subsequently moving to California and
 25 claiming that it would be inconvenient or otherwise improper to litigate that agreement
 26 in Florida.
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  1         Although Plaintiffs may argue that enforcing the forum selection clause would
  2 contravene California public policy inasmuch as the agreement contains
  3 noncompetition and nonsolicitation covenants that may be otherwise unenforceable in
  4 California, courts have repeatedly rejected such an argument. “This Court and others
  5 have repeatedly and definitely foreclosed the exact argument Plaintiffs make here: that
  6 California's public policy against non-compete agreements renders forum selection
  7 clauses in those agreements unreasonable.” Mechanix Wear, Inc. v. Performance
  8 Fabrics, Inc., 216CV09152ODWSS, 2017 WL 417193, at *7 (C.D. Cal. Jan. 31, 2017)
  9 (collecting cases). Rather, “the only relevant consideration is whether the forum
 10 selection clause itself violates California's public policy, not the agreement in which it
 11 appears.” Id.; see also Rowen v. Soundview Communications, Inc., 14-CV-05530-
 12 WHO, 2015 WL 899294, at *4-5 (N.D. Cal. Mar. 2, 2015) (“[A]bsent a total
 13 foreclosure of remedy in the transferee forum, courts tether their policy analysis to the
 14 forum selection clause itself, finding the forum selection clause unreasonable only
 15 when it contravenes a policy specifically related to venue…. courts in this District have
 16 applied this analysis when addressing the main public policy asserted here, California’s
 17 prohibition on non-compete agreements.”) (collecting cases); Scales v. Badger
 18 Daylighting Corp., 117CV00222DADJLT, 2017 WL 2379933, at *5 (E.D. Cal. June
 19 1, 2017) (“[P]laintiff’s argument is essentially that enforcement of the forum selection
 20 clause in this case would violate California’s public policy against covenants not to
 21 compete. . . . As defendants correctly note, ‘California district courts have found this
 22 to be unpersuasive.’”) (collecting cases).
 23 II.     DISMISSAL BASED ON FORUM NON CONVENIENS IS
 24         APPROPRIATE SO THAT THE ACTION MAY PROCEED IN
            FLORIDA STATE COURT
 25
            “[T]he appropriate way to enforce a forum-selection clause pointing to a state
 26
      or foreign forum is through the doctrine of forum non conveniens. Section 1404(a) is
 27
      merely a codification of the doctrine of forum non conveniens for the subset of cases
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  1 in which the transferee forum is within the federal court system.” Atlantic Marine, 571
  2 U.S. at 60. “[B]ecause both § 1404(a) and the forum non conveniens doctrine from
  3 which it derives entail the same balancing-of-interests standard, courts should evaluate
  4 a forum-selection clause pointing to a nonfederal forum in the same way that they
  5 evaluate a forum-selection clause pointing to a federal forum.” Id. at 61.
  6         Accordingly, courts regularly dismiss actions under the forum non conveniens
  7 doctrine where the most appropriate venue is in state court, rather than another federal
  8 court, so there is no procedural mechanism akin to § 1404(a) that could be used to
  9 transfer the case. In Sun, 901 F.3d at 1093, the court affirmed dismissal under forum
 10 non conveniens where, given a forum selection clause, the proper venue was a different
 11 state court. See also, e.g., Taub v. Parker Jewish Inst. for Health Care & Rehab., 18-
 12 CV-07491-RS, 2019 WL 3292369, at *8 (N.D. Cal. July 22, 2019) (same); S & J
 13 Rentals, Inc. v. Hilti, Inc., 294 F. Supp. 3d 978, 989-90 (E.D. Cal. 2018) (same).
 14         Here, dismissal based on forum non conveniens is proper because a similar
 15 action is actually pending and proceeding in Florida state court. D.E. 15-2, D.E. 22-
 16 1 at 6. Tierney is a defendant in that action—which he admits this action duplicates—
 17 and has appeared and filed motions in that action. In fact, there are hearings already
 18 scheduled for May 26, 2020 (on ICD’s Motion for Injunctive Relief) and June 2, 2020
 19 (on Tierney’s “Motion to Stay or Abate Proceedings Pending Resolution of the Prior
 20 California Action, Motion to Quash Service of Process, and Motion to Dismiss”) before
 21 Judge Carol-Lisa Phillips of the17th Judicial Circuit Court of Florida, Broward County
 22 Civil Division.
 23         Because Tierney may bring any claims he has against ICD as counterclaims in
 24 that action, it would serve judicial economy and efficiency to dismiss the action so that
 25 it may be pursued in the Florida state court where it is already being litigated. 5 This
 26
 27   5
       Plaintiff Legacy, which is Tierney’s company, can obviously file a claim in the
      Florida action. However, as discussed in ICD’s Rule 12(b)(6) motion, also filed
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  1 course of action would thus serve the public interest in enforcing contractual
  2 obligations.6 See Sun, 901 F.3d at 1088 (noting that a court may consider factors
  3 relating to the public interest, and that “those factors will rarely defeat a transfer
  4 motion”).
  5 III.    ALTERNATIVELY, TRANSFER TO THE SOUTHERN DISTRICT OF
  6         FLORIDA IS PROPER UNDER 28 U.S.C. § 1404(A)

  7         Alternatively, if this Court finds that dismissal of this action to allow Tierney to
  8 assert his claims in Broward County is not appropriate, it should, pursuant to Section
  9 1404(a), transfer this action to the Southern District of Florida, which encompasses
 10 Broward County, Florida. See Atlantic Marine, 571 U.S. at 62 (noting that the lower
 11 court “correctly identified § 1404(a) as the appropriate provision to enforce the forum-
 12 selection clause in this case”).
 13         28 U.S.C. §1404(a) provides that “For the convenience of parties and witnesses,
 14 in the interest of justice, a district court may transfer any civil action to any other district
 15 or division where it might have been brought or to any district or division to which all
 16 parties have consented” (emphasis added).              As explained above, “because the
 17 overarching consideration under § 1404(a) is whether a transfer would promote ‘the
 18 interest of justice,’ ‘a valid forum-selection clause [should be] given controlling weight
 19 in all but the most exceptional cases.’” Atlantic Marine, 571 U.S. at 63.
 20         Accordingly, if this court declines to dismiss based on forum non conveniens so
 21 that the action may be pursued in Florida State Court, then this Court should transfer
 22 this case to the Southern District of Florida pursuant to Section 1404(a).
 23
 24 today, Legacy has no claim against ICD and merely seeks to recover damages for
    ICD’s enforcement of the agreement against Tierney.
 25 6 Further, in assessing venue transfers even under the traditional factors, “An important
    consideration in determining whether the interests of justice dictate a transfer of venue
 26 is the pendency of a related case in the transferee forum.” Callaway Golf Co. v. Corp.
    Trade Inc., 09CV384 L(POR), 2010 WL 743829, at *7 (S.D. Cal. Mar. 1, 2010). That
 27 is clearly the case, where the parties have agreed that venue “shall lie” in the transferee
    forum.
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  1 IV.     LEGACY’S CLAIMS MUST BE TRANSFERRED AS WELL
  2         Although only Tierney, and not Legacy, signed the contract containing the forum
  3 selection clause, the above analysis applies with equal force to Legacy; Legacy is
  4 bound by the terms of the forum selection clause.7
  5         In the Ninth Circuit, non-signatories to a forum selection clause are nonetheless
  6 bound by the agreement when the conduct of the non-signatory (Legacy) is closely
  7 related to the contractual relationship. Manetti-Farrow, Inc. v. Gucci Am., Inc., 858
  8 F.2d 509, 514 at n.5 (9th Cir. 1988) (“We agree with the district court that the alleged
  9 conduct of the non-parties is so closely related to the contractual relationship that the
 10 forum selection clause applies to all defendants.”); see also TAAG Linhas Aereas de
 11 Angola v. Transamerica Airlines, Inc., 915 F.2d 1351, 1354 (9th Cir. 1990) (“It is not
 12 unreasonable or unjust to enforce the clause even though some of them did not sign the
 13 agreement.”). Here, Legacy is a vehicle that Tierney owns and uses to sell insurance—
 14 in violation of his agreement with ICD. Tierney’s sale of insurance through Legacy
 15 directly implicates the agreement, including its binding forum selection clause
 16 mandating transfer to Florida.
 17         Legacy’s request for a determination of the rights of the parties under the
 18 contract is a concession that its claims rise or fall on the contractual dispute between
 19 ICD and Tierney. D.E. 1-1 at ¶¶ 29-44. That is why in Plaintiffs’ complaint, they assert
 20 that they are:
 21         seeking to resolve an actual controversy with Defendants regarding the rights
            and obligations of the parties relating to, and arising from Defendants’
 22
            Independent Agent or Agency of Record Agreement (“Independent Agent
 23         Agreement”) entered into between Tierney and Defendants.
 24   Id. at ¶ 2 (emphasis added.) Of course, that is the very agreement that contains the
 25 venue provision. Legacy cannot seek a determination of its rights under this agreement
 26
 27   7
     As ICD explains in its motion to dismiss, also filed today, Legacy is merely a nominal
    party and its claims have no merit. If this Court disagrees, however, then it should find
 28 that Legacy’s claims are governed by the forum selection clause.
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  1 and at the same time argue that it is distant from it. Since Legacy’s conduct is closely
  2 related to the contractual relationship between ICD and Tierney, Legacy is bound by
  3 the terms of the forum selection clause.
  4         The relationship between Tierney and Legacy is precisely the type of
  5 relationship that California courts have found sufficient to bind non-signatories to a
  6 forum selection clause. “Non-signatories are typically bound by . . . forum-selection
  7 clauses in circumstances where they have an agency relationship of some kind with a
  8 signatory or the signatory is a predecessor-in-interest.” Bromlow v. D & M Carriers,
  9 LLC, 19-CV-05358-JSW, 2020 WL 701979, at *4 (N.D. Cal. Feb. 11, 2020) (citing
 10 Vistage Worldwide, Inc. v. Knudsen, No. 19-cv-01351-JLB, 2020 WL 71140, at *6–8
 11 (S.D. Cal. Jan. 7, 2020) (collecting cases)); see also Finsa Portafolios, S.A. de C.V. v.
 12 OpenGate Capital, LLC, 2:17-CV-04360-RGK-E, 2017 WL 6882888, at *7 (C.D. Cal.
 13 Sept. 26, 2017), aff’d, 769 Fed. Appx. 429 (9th Cir. 2019), and aff’d, 769 Fed. Appx.
 14 429 (9th Cir. 2019) (enforcing forum selection clause against non-signatory where
 15 there was a close relationship among the defendants, and the non-signatory’s wrongful
 16 conduct was “intimately tied to the eventual contract that plaintiff signed”).
 17         This case is similar to Cung Le v. Zuffa, LLC, where some plaintiffs had signed
 18 agreements with forum-selection clauses, and others had not; yet the court found that
 19 the forum selection clause applied to all parties and the entire case was transferred. 108
 20 F. Supp. 3d 768, 775 at n. 4 (N.D. Cal. 2015). The court explained that non-signatory
 21 plaintiffs had “subjected their cases to the applicable forum-selection clause by
 22 choosing to join a[n] action with other [signatory] plaintiffs.” Id. In so concluding, the
 23 Cung Le court noted the language of the forum-selection clause at issue, which applied
 24 to “any action brought by either party to interpret or enforce any provision” of the
 25 agreement. Id. at 775. The court underscored that the forum-selection clause applied to
 26 “actions,” “not just individual claims.” Id. at 775 n.4 (emphasis added). Similarly, the
 27 forum selection clause at issue in this action refers to “any dispute arising out of or
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  1 related to the inception of performance of this Agreement[.]” D.E. 1-1 at 25 (emphasis
  2 added). Legacy has joined this action to seek an interpretation of its rights and
  3 obligations under this agreement; Legacy is bound by the terms of this forum selection
  4 clause which refers to disputes, not just claims, and requires transfer to Broward
  5 County.
  6         Courts across the country follow this same approach—binding non-signatories
  7 to forum selection clauses where the non-signatory is closely related to the conduct
  8 underlying the dispute. See, e.g., Synthes, Inc. v. Emerge Medical, Inc., 887 F. Supp.
  9 2d 598, 611-12 (E.D. Pa. 2012) (holding non-signatory was bound by a forum selection
 10 clause contained in a non-compete signed by individuals with whom the non-signatory
 11 conspired to create and run a company that violated the non-compete); First Fin. Mgmt.
 12 Grp., Inc. v. Univ. Painters of Baltimore, Inc., 2012 WL 1150131, at *3 (E.D. Pa. Apr.
 13 5, 2012) (recognizing “when signatories and non-signatories act together against the
 14 interests of the plaintiff, the non-signatory co-conspirators may also be bound by the
 15 forum selection clause”); McNair v. Monsanto Co., 279 F. Supp. 2d 1290, 1309–10
 16 (M.D.Ga.2003) (“[W]here the record shows that some of the Plaintiffs are not bound
 17 by the forum selection clause, the Court finds that those Plaintiffs are bound by their
 18 choice to bring suit in concert with others that are.”). Specifically, many circuits have,
 19 like the Ninth Circuit, endorsed the “closely related” doctrine for applying forum
 20 selection clauses. See, e.g., Marano Enters. of Kan. v. Z–Teca Rests., L.P., 254 F.3d
 21 753, 757–58 (8th Cir. 2001); Lipcon v. Underwriters at Lloyd's, London, 148 F.3d
 22 1285, 1299 (11th Cir. 1998); Baker v. LeBoeuf, Lamb, Leiby & Macrae, 105 F.3d 1102,
 23 1105–06 (6th Cir. 1997); see also Coastal Steel Corp. v. Tilghman Wheelabrator Ltd.,
 24 709 F.2d 190, 203 (3d Cir. 1983) (refusing to absolve a third-party beneficiary from
 25 the strictures of a forum selection clause which was foreseeable), overruled on other
 26 grounds by Lauro Lines s.r.l. v. Chasser, 490 U.S. 495 (1989).
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  1         This is based on the idea that “a range of transaction participants, parties and
  2 non-parties, should benefit from and be subject to forum selection clauses.” Clinton v.
  3 Janger, 583 F. Supp. 284, 290 (N.D.Ill.1984) (citing Coastal Steel Corp. v. Tilghman
  4 Wheelabrator Ltd., 709 F.2d 190, 202–03 (3d Cir. 1983)). Forum selection clauses
  5 have the “salutary effect of dispelling any confusion about where suits arising from the
  6 contract must be brought and defended, sparing litigants the time and expense of
  7 pretrial motions to determine the correct forum and conserving judicial resources that
  8 otherwise would be devoted to deciding those motions.” Carnival Cruise Lines, Inc. v.
  9 Shute, 499 U.S. 585, 593–94 (1991). They also “further[ ] vital interests of the justice
 10 system,” including judicial economy and efficiency, Stewart Org., Inc. v. Ricoh Corp.,
 11 487 U.S. 22, 33 (1988) (Kennedy, J., concurring), and ensure that parties will not be
 12 “required to defend lawsuits in far-flung fora[,] ... and promote uniformity of result.”
 13 Hodes v. S.N.C. Achille Lauro ed Altri–Gestione, 858 F.2d 905, 913 (3d Cir.1988)
 14 (internal citations and quotation marks omitted), overruled on other grounds by Lauro
 15 Lines s.r.l. v. Chasser, 490 U.S. 495 (1989)).
 16         Binding precedent in the Ninth Circuit, cases across the California district courts,
 17 and courts all across the country agree that non-signatories whose conduct is closely
 18 related to the dispute are bound by a forum selection clause. The law compels that
 19 result in this action. Legacy is bound by the forum selection clause, and this case should
 20 be dismissed so it may proceed in state court in Broward County.
 21                                      CONCLUSION
 22         For the foregoing reasons, ICD respectfully requests that this Court dismiss this
 23 case based on forum non conveniens so that it can be pursued as part of the already-
 24 pending action in Broward County, Florida. Alternatively, this Court should transfer
 25 this case to the Southern District of Florida pursuant to 28 U.S.C. § 1404(a).
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  1 DATED: May 15, 2020                 Respectfully submitted,

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